On June 11, 1996, appellee, Michael R. Spaller, pled guilty to three counts of gross sexual imposition, in violation of R.C. 2907.05. On August 23, 1996, the Lake County Court of Common Pleas sentenced appellee to serve a definite term of incarceration of one year on each count, to be served consecutively. Having pleaded guilty to a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed July 1, 1997, the trial court,sua sponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v.Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed.
                                   ------------------------ JUDGE WILLIAM M. O'NEILL
FORD, P.J., NADER, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.